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 6
 7
                                 UNITED STATES DISTRICT COURT
 8
                                NORTHERN DISTRICT OF CALIFORNIA
 9
10
     JORDAN SANDERS and MICHAEL                           Case No. 4:24-cv-06991-YGR
11   DONALYA, individually and on behalf of all
12   others similarly situated,                           DEFENDANT FLUMGIO
                                                          TECHNOLOGY INC.’s MOTION TO
13                                    Plaintiffs,         DISMISS CLASS ACTION
            v.                                            COMPLAINT
14
15                                                        Date:      May 20, 2025
     FLUMGIO TECHNOLOGY INC., SMOKING                     Time:      2:00 p.m.
16   VAPOR PLUS CA, LLC, VAPE JUICE
     DEPOT, VAPE ELEMENT, LLC,
17   VAPORDNA, HAPPY DISTRO, AND                          Hon. Yvonne Gonzalez Rogers
     HUFFERS & PUFFERS, LLC,
18                                                  H
19                                   Defendants.
20
21
22
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26
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28

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 1
                                 NOTICE OF MOTION AND MOTION
 2
     TO THE COURT AND ALL PARTIES OF RECORD:
 3
            PLEASE TAKE NOTICE that on May 20, 2025 at 2:00 p.m., or as soon thereafter as the
 4
     matter may be heard, in Courtroom 1, Fourth Floor of the Oakland Federal District Courthouse,
 5
     located at 1301 Clay Street, Oakland, California, Defendants FLUMGIO TECHNOLOGY INC.
 6
     (“Flumgio”) will and hereby do move to dismiss the Class Action Complaint filed by Plaintiffs
 7
     JORDAN SANDERS and MICHAEL DONALYA, pursuant to:
 8
            •       Federal Rule of Civil Procedure 12(b)(1) for lack of subject matter jurisdiction;
 9
            •       Federal Rule of Civil Procedure 12(b)(6) for failure to state a claim; and
10
            •       Federal Rule of Civil Procedure 9(b) for failure to plead claims sounding in fraud
11
     with particularity.
12
            This Motion seeks an order from the Court dismissing the Complaint in its entirety.
13
            This Motion is based on this Notice of Motion, the accompanying Memorandum of Points
14
     and Authorities, the concurrently filed Request for Judicial Notice, the Affidavit of Hongchang
15
     Deng and attached exhibits, any additional filings including a reply brief, and any other arguments
16
     or evidence that may be presented at the hearing on this matter.
17
18
19   Dated: April 3, 2025                         Respectfully Submitted
                                                  SHM LAW FIRM
20
                                                  By: /s/ Hongchang Deng
21                                                     Hongchang Deng
22                                                Hongchang Deng (State Bar No. 354529)
                                                  25F, China Resources Tower
23                                                2666 Keyuan South Road, Nanshan
                                                  Shenzhen, 518052, China
24
                                                  Attorney for Defendant Flumgio Technology, Inc.
25
26
27
28

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 1
                           MEMORANDUM OFPOINTS AND AUTHORITIES
 2
 3          Defendant Flumgio Technology Inc. (“Flumgio”) respectfully moves to dismiss the

 4   Plaintiffs’ Class Action Complaint (The “Complaint”) in its entirety pursuant to Federal Rules of

 5   Civil Procedure 12(b)(1), 12(b)(6), and 9(b). The Complaint fails at every level: Plaintiffs lack

 6   Article III standing because they do not allege any concrete, particularized injury. The pleading

 7   also fails to state a claim, as it does not plausibly allege that any statement by Flumgio was false or

 8   misleading. Finally, Plaintiffs’ fraud-based claims fall far short of the heightened pleading

 9   requirements of Rule 9(b), as they identify no specific misrepresentation made by any Flumgio

10   representative on which they relied. Dismissal is therefore warranted.

11
                                               INTRODUCTION
12
13          “PFAS” is not a magic word that can be invoked to open automatically the doors to federal

14   litigation. See Bullard v. Costco Wholesale Corp., No. 24-CV-03714-RS, 2025 WL 506271 (N.D.

15   Cal. Feb. 14, 2025). See also Exhibit A. Yet here, Plaintiffs use “PFAS” as a catch-all label —

16   without scientific context or factual support—in an attempt to create federal jurisdiction and hold

17   Flumgio liable without alleging any actual harm, false statement, or violation of law.

18          Plaintiffs allege in the Complaint that “Flum Float” disposable vapes’(“Products”) unfit for

19   sale and for their intended purpose because they contain “forever chemicals,” known as PFAS.

20   They further contend that the presence of these substances renders the products “dangerous” to

21   human health and inconsistent with Flumgio’s representations of being healthy or natural. However,

22   Plaintiffs’ allegations fall far short of establishing any actionable claim.

23          Notably, Plaintiffs themselves acknowledge that PFAS constitute a large and chemically

24   diverse class of synthetic compounds. By describing PFAS as a “large, complex group of synthetic

25   chemicals” (Compl. ¶4), they implicitly concede that the term encompasses a broad array of

26   distinct substances with differing chemical and toxicological profiles — most of which have not

27   been associated with any known health risks. In fact, several PFAS compounds are expressly

28   approved for use by the U.S. Food and Drug Administration (“FDA”) in products such as

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 1
     cosmetics and food packaging. While the Environmental Protection Agency (“EPA”) has raised
 2
     concerns about a limited number of specific PFAS types, the regulatory landscape does not support
 3
     Plaintiffs’ suggestion that the mere presence of any PFAS constitutes a danger.
 4
             Despite the gravity of their claims, Plaintiffs do not allege that any particular “toxic” PFAS
 5
     compounds are present in the Product—let alone in quantities that pose any meaningful risk. The
 6
     Complaint fails to identify a single specific PFAS chemical found in any Flum Float device. In
 7
     reality, PFAS are commonly utilized in a vast array of consumer products due to their
 8
     performance-enhancing characteristics, including resistance to oil, water, heat, and friction. By
 9
     invoking the umbrella term “PFAS” without distinction, Plaintiffs obscure the nature and scope of
10
     their allegations and fail to present any plausible theory of harm or misrepresentation stemming
11
     from the incidental presence of trace compounds.
12
             More fundamentally, Plaintiffs do not even plausibly allege that the particular product they
13
     purchased contained PFAS at all. They also do not—and cannot—claim that PFAS were added
14
     intentionally to the product, because they were not. The Complaint references testing conducted by
15
     an unspecified laboratory, yet offers no detail regarding the tested sample, its chain of custody, or
16
     whether it corresponds to a unit actually purchased by either Plaintiff.
17
             Even assuming, for the sake of argument, that the test report cited by the Complaint reflects
18
     an analysis of the specific Products purchased by Plaintiffs, Plaintiffs allege that laboratory testing
19
     revealed the product contains “over 160 parts per billion (PPB) of PFAS,” and assert that this “is
20
     320 times the amount set by the EPA as a limit for daily oral exposure.” (See Compl. ¶6). However,
21
     this comparison is scientifically unsound and fundamentally flawed. The value Plaintiffs refer to—
22
     5 × 10 ⁻ ⁴ mg/kg-day — appears in the EPA’s ORD Human Health Toxicity Values for
23
     Perfluoropropanoic Acid (2023) (See Compl. ¶ 6) and represents an oral reference dose (RfD): the
24
     estimated maximum daily intake of a substance per kilogram of body weight1 (See also Exhibit B)
25
26
     1
       “[t]he RfD is generally expressed in units of milligrams per kilogram of bodyweight per day
     (mg/kg/day).” This value represents the estimated daily exposure to a substance that is not likely to
27   cause harmful effects over a lifetime. See U.S. Envtl. Prot. Agency, Reference Dose (RfD):
     Description and Use in Health Risk Assessments, https://www.epa.gov/iris/reference-dose-rfd-
28   description-and-use-health-risk-assessments (last visited Apr. 2, 2025).

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 1
     that is unlikely to pose health risks. In contrast, the 160 PPB2 (See also Exhibit C) figure cited from
 2
     the lab report is a measure of static chemical concentration within the vape liquid. These are two
 3
     fundamentally different units — dose versus concentration — and cannot be compared without an
 4
     appropriate exposure assessment model.
 5
             Plaintiffs offer no methodology for converting PPB-level concentration in a liquid into a
 6
     projected mg/kg-day dose for any actual user. Nor do they allege that a user would absorb PFAS
 7
     from the product in an amount approaching the RfD, or that the specific compound identified in the
 8
     ORD report—perfluoropropanoic acid (PFPrA)—is the same PFAS allegedly detected. In short,
 9
     Plaintiffs’ “320 times the limit” claim is based on a flawed comparison between fundamentally
10
     incompatible units, and fails to establish any plausible health risk or misrepresentation.
11
             Further, Plaintiffs attempt to support their “dangerous amount” theory by citing a media
12
     article from The Guardian referencing PFAS levels in kale. (See Compl. ¶ 6). But this second
13
     benchmark suffers from the same flaws. The article itself is not a scientific or regulatory authority,
14
     and it merely summarizes a non-governmental pilot study unrelated to the Product at issue. That
15
     study tested kale and identified a list of specific PFAS compounds—none of which includes
16
     Perfluoropropanoic Acid, the compound underlying Plaintiffs’ first standard. In short, Plaintiffs
17
     rely on two unrelated benchmarks involving different PFAS substances and attempt to compare
18
     them to the same alleged 160 PPB figure tested from the Product. This inconsistent, compound-
19
     switching approach renders their entire “exceedance” theory scientifically invalid and legally
20
     implausible.
21
             Courts assessing similar PFAS-based claims have consistently held that a viable
22
     contamination theory requires more than speculation. To proceed, a plaintiff must allege more than
23
     the theoretical possibility that the product they personally purchased was affected. Vague
24
     suspicions based on unidentified samples do not meet this standard.
25
26
     2
       “Another common unit is parts per billion (ppb), which is also expressed as microgram per liter
     (µg/l) or microgram per kilogram (µg/kg). In drinking water results, you may also see parts per
27   trillion (ppt)....One ppb would be equal to one drop of ink in a 10,000-gallon swimming pool.” See
     Missouri Dep’t of Nat. Res., Understanding Data, https://dnr.mo.gov/monitoring/understanding-
28   data (last visited Apr. 2, 2025).

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 1
            Nor do Plaintiffs allege that they—or anyone else—have experienced any adverse effects
 2
     from using Flum Float products. There are no claims of injury, no symptoms, and no heightened
 3
     risk of disease. Flumgio makes no promises that its products are PFAS-free, medically beneficial,
 4
     or toxin-free. Plaintiffs do not identify any statement on the product or its packaging that is
 5
     demonstrably false.
 6
            These shortcomings, apparent on the face of the Complaint, are fatal to all asserted claims.
 7
     First, Plaintiffs fail to allege a concrete and particularized injury sufficient to satisfy Article III
 8
     standing. Second, the Complaint fails to state any viable cause of action, as it lacks factual
 9
     allegations supporting a false or misleading statement. Third, Plaintiffs’ fraud-based theories
10
     collapse under Rule 9(b) because they do not identify any specific representation by any Flumgio
11
     agent that they relied upon. For all these reasons, the Complaint should be dismissed in its entirety.
12
13
                                        FACTUAL BACKGROUND
14
15
     I.   The Allegations in Plaintiff’s Complaint.
16
17          Plaintiffs Michael Donalya and Jordan Sanders, both residents of California, allege that

18   they purchased Flum Float disposable vape products on two occasions—Mr. Donalya in or around

19   January 2022 from a third-party online retailer, and Mr. Sanders in or around October 2023 from a

20   local retail store. (Compl. ¶¶ 12–13.)

21          Plaintiffs allege that Flumgio intentionally markets the Products as light and harmless,

22   through the use of branding elements such as the word “Float,” images of fresh fruit, bright,

23   colorful packaging, and juice-splattered backgrounds. (Compl. ¶ 36.) They claim that these

24   marketing choices were designed to suggest that the Product is “delightful” and minimally

25   impactful on the body. Plaintiffs further assert that Flumgio omits material information about

26   including any mention of PFAS, either on the product packaging or in online listings. (Id. ¶¶ 37–

27   40.) However, Plaintiffs do not cite any affirmative statement made by Flumgio about PFAS,

28   product safety, or comparative chemical levels, nor do they identify any specific advertisement or

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 1
     disclosure upon which they personally relied. (Id. ¶¶ 37–40.)
 2
            Plaintiffs do not allege that they tested the Flum Float products they personally purchased.
 3
     Instead, they claim that their attorneys arranged testing through a Department of Defense ELAP-
 4
     certified laboratory, which allegedly “revealed the Product contains 160 parts per billion (PPB) of
 5
     PFAS.” (Compl. ¶¶ 6, 42.) Notably absent from the Complaint is any allegation as to which of the
 6
     thousands of PFAS compounds was detected—or whether the compound identified is among
 7
     those considered potentially harmful by regulators or scientists.
 8
            Moreover, Plaintiffs attempt to characterize the 160 ppb result as “320 times the amount set
 9
     by the EPA as a limit for daily oral exposure,” referencing a toxicity value from the EPA’s 2023
10
     ORD Human Health Toxicity Values for Perfluoropropanoic Acid. (Compl. ¶ 6.) This comparison
11
     is scientifically baseless. The EPA’s oral reference dose—5 × 10⁻⁴ mg/kg-day—is an estimated
12
     daily intake threshold based on body weight, whereas 160 ppb is a static concentration measure of
13
     PFAS in a liquid. These are fundamentally different units—dose versus concentration—that cannot
14
     be compared without an appropriate exposure assessment model accounting for usage patterns,
15
     inhalation rates, and absorption. Plaintiffs offer no such analysis.
16
            Furthermore, Plaintiffs do not allege that Flumgio advertised any specific health benefits;
17
     they do not allege that the Product contains ingredients other than those typically found in
18
     disposable vapes; they do not allege that the vape’s flavor, labeling, or presentation deviated from
19
     how it is described; and they do not allege that the Product failed to function as expected. Nor do
20
     they allege that they — or any consumer — suffered any adverse health effects, symptoms, or
21
     reactions as a result of using the Product. At bottom, Plaintiffs seek to manufacture liability based
22
     on generalized aesthetic impressions and omissions, not on any misrepresentation they actually saw,
23
     relied on, or were harmed by.
24
            Plaintiffs bring claims against Flumgio individually and on behalf of classes of all others
25
     similarly situated for (1) violation of California’s Consumers Legal Remedies Act (“CLRA”),
26
     California Civil Code § 1750, et seq.; (2) violation of California’s Unfair Competition Law
27
     (“UCL”), California Business & Professions Code§17200, et seq.; (3) Fraudulent Concealment or
28

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 1
     Omission; and (4) Breach of Implied Warranty of Merchantability, U.C.C. 2-314.
 2
 3   II. What Are PFAS (Per- and Polyfluoroalkyl Substances)？
 4
            PFAS, or per- and polyfluoroalkyl substances, refer to an extremely broad class of synthetic
 5
     fluorinated chemicals that contain at least one fully fluorinated carbon atom.3 Plaintiffs themselves
 6
     describe PFAS as a “large, complex group of synthetic chemicals.” (Compl. ¶ 4.) In fact, over
 7
     15,000 distinct compounds fall under the general definition of PFAS4, each with potentially
 8
     different structures, properties, and toxicological profiles. These substances are widely used in
 9
     industrial, commercial, and food-related applications because of their resistance to oil, water, heat,
10
     and friction. PFAS are commonly found in waterproof textiles, non-stick cookware, stain-resistant
11
     coatings, and food packaging.
12
            The U.S. Environmental Protection Agency (EPA) confirms that “[t]here are thousands of
13
     PFAS with potentially varying effects and toxicity levels,” but only “exposure to certain PFAS in
14
     the environment may be linked to harmful health effects in humans and animals.”5 See also Exhibit
15
     D. In fact, only a narrow subset of PFAS compounds—primarily perfluorooctanoic acid (PFOA)
16
     and perfluorooctane sulfonate (PFOS)—has been subject to meaningful regulatory scrutiny due to
17
     concerns about potential human toxicity under specific conditions.
18
            By contrast, many other PFAS compounds—such as PTFE (polytetrafluoroethylene)—have
19
     been expressly authorized for decades by the U.S. Food and Drug Administration (FDA) for use in
20
     food contact materials, food processing equipment, and cosmetics. See, e.g., 21 C.F.R. § §
21
     177.1550, 176.170, 175.300. The FDA has concluded that these substances “are safe for their
22
23
     3
       “‘Perfluoroalkyl and polyfluoroalkyl substances’ or ‘PFAS’ means a class of fluorinated organic
     chemicals containing at least one fully fluorinated carbon atom.” See, e.g., Cal. Health & Saf. Code
24   § 108945
     4
       “PFAS are a group of nearly 15,000 synthetic chemicals, according to a chemicals database
25   (CompTox) maintained by the U.S. Environmental Protection Agency.” See National Institute of
     Environmental Health Sciences (NIEHS), Perfluoroalkyl and Polyfluoroalkyl Substances (PFAS),
26   https://www.niehs.nih.gov/health/topics/agents/pfc (last accessed Apr. 2, 2025)
27
     5
       See U.S. Envtl. Prot. Agency, Our Current Understanding of the Human Health and
     Environmental Risks of PFAS, https://www.epa.gov/pfas/our-current-understanding-human-health-
28   and-environmental-risks-pfas (last visited Apr. 2, 2025).

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 1
     intended use,” based on “rigorous scientific review before they are authorized for the market.” 6
 2
     See also Exhibit E.
 3
             Courts have likewise acknowledged that not all PFAS are harmful. See, e.g., GMO Free
 4
     USA v. Cover Girl Cosmetics, No. 2021 CA 004786 B (D.C. Super. Ct. June 1, 2022) (recognizing
 5
     that certain forms of PFAS “have not been found to be toxic or environmentally unsafe”). See also
 6
     Exhibit F.
 7
            In short, “PFAS” is not a synonym for danger. Without identifying the specific compound
 8
     allegedly present in the Product—and whether it falls within the small group of PFAS considered
 9
     potentially hazardous — Plaintiffs’ sweeping allegations lack both scientific grounding and legal
10
     sufficiency.
11
                                               ARGUMENT
12
     I.   LEGAL STANDARD
13
14          Defendant Flumgio respectfully moves to dismiss the Class Action Complaint pursuant to
15   Federal Rules of Civil Procedure 12(b)(1), 12(b)(6), and 9(b).
16          Dismissal under Rule 12(b)(1) is warranted because Plaintiffs lack Article III standing. To
17   satisfy the standing requirement, a plaintiff must show “(1) it has suffered an ‘injury-in-fact’ that
18   is (a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical; (2)
19   the injury is fairly traceable to the challenged action of the defendant; and (3) it is likely, as
20   opposed to merely speculative, that the injury will be redressed by a favorable decision.” Friends
21   of the Earth, Inc., v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81 (2000) (citing Lujan
22   v. Defs. of Wildlife, 504 U.S. 555, 560–61 (1992)).
23          A motion brought under Rule 12(b)(6) challenges the legal sufficiency of the claims
24   asserted in the complaint. See Conservation Force v. Salazar, 646 F.3d 1240, 1241–42 (9th Cir.
25   2011). Dismissal is appropriate where the complaint either “lacks a cognizable legal theory” or
26   6
      “The FDA has authorized certain PFAS for use in specific food contact applications. Some PFAS
27   are used in cookware, food packaging, and in food processing...” See U.S. Food & Drug Admin.,
     Per- and Polyfluoroalkyl Substances (PFAS), https://www.fda.gov/food/environmental-
28   contaminants-food/and-polyfluoroalkyl-substances-pfas (last visited Apr. 2, 2025).

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 1
     fails to allege “sufficient facts under a cognizable legal theory.” Id. at 1242 (internal quotation
 2
     marks and citation omitted). Although the complaint need not include “detailed factual allegations,”
 3
     it must set forth enough factual matter to state a claim that is “plausible on its face.” Ashcroft v.
 4
     Iqbal, 556 U.S. 662, 678 (2009) (citing Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555, 570 (2007)).
 5
     A claim is facially plausible when the plaintiff alleges facts that allow the court to reasonably infer
 6
     the defendant’s liability for the alleged misconduct. Id. (citing Twombly, 550 U.S. at 556). This
 7
     standard requires “more than a sheer possibility that a defendant has acted unlawfully.” Id.
 8
     Assessing plausibility is a context-specific inquiry that calls upon the court’s “judicial experience
 9
     and common sense.” Id. at 679.
10
            Moreover, because Plaintiffs assert claims sounding in fraud — including fraudulent
11
     concealment and statutory consumer deception—they must meet the heightened pleading standard
12
     of Rule 9(b), which requires that “[i]n alleging fraud or mistake, a party must state with
13
     particularity the circumstances constituting fraud.” Fed. R. Civ. P. 9(b). This includes identifying
14
     the “who, what, when, where, and how” of the alleged misconduct. See Vess v. Ciba-Geigy Corp.
15
     USA, 317 F.3d 1097, 1106 (9th Cir. 2003).
16
            This particularity requirement applies not only where fraud is an express element of a claim,
17
     but also where the plaintiff’s theory is based on a “unified course of fraudulent conduct.” In such
18
     circumstances, all claims — whether labeled as fraud or not — must be pled with the specificity
19
     required under Rule 9(b). See Vess, 317 F.3d at 1103 – 04; see also Robichaud v. Speedy PC
20
     Software, No. C 12-04730 LB, 2013 WL 818503, at *10 (N.D. Cal. Mar. 5, 2013) (applying Rule
21
     9(b) to claims for UCL violations, fraudulent inducement, and breaches of contract and warranty,
22
     because they “rel[y] on a uniform course of fraudulent conduct”).
23
            Rule 9(b) requires that a plaintiff specifically allege “when he was exposed” to the
24
     challenged statements, where he saw them, and “which ones he found material.” Kearns v. Ford
25
     Motor Co., 567 F.3d 1120, 1126 (9th Cir. 2009). Courts routinely reject similar claims that fail to
26
     allege what levels of a given substance would be considered harmful or misleading to consumers.
27
     See Leppert v. Champion Petfoods USA Inc., No. 18 C 4347, 2019 WL 216616, at *10 (N.D. Ill.
28

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 1
     Jan. 16, 2019) (“[W]ithout pleading what levels of heavy metals and/or BPA are considered safe
 2
     for   pets,    Plaintiffs   cannot   establish   that   [defendant    pet   food   manufacturer]     made
 3
     misrepresentations.”). Also see “The Court agrees. Krakauer’s fraud by omission claims fail
 4
     largely because he has not plausibly alleged that his raincoat contained dangerous PFAS in
 5
     quantities sufficient to pose health risks.” Krakauer v. Recreational Equip., Inc., No. C22-5830
 6
     BHS, 2024 WL 1494489, at *10 (W.D. Wash. Mar. 29, 2024). See also Exhibit G.
 7
 8   II. THE COMPLAINT SHOULD BE DISMISSED UNDER RULE 12(b)(1)
 9
               To survive a Rule 12(b)(1) facial attack on standing a plaintiff “must ‘clearly . . .allege facts
10
     demonstrating’ each element.” Spokeo, Inc. v. Robins, 578 U.S. 330, 338 (2016) (quoting Warth v.
11
     Seldin, 422 U.S. 490, 518 (1975)).
12
               But Plaintiffs have failed to adequately allege that they have suffered an “injury-in-fact”
13
     that is “(a) concrete and particularized and (b) actual or imminent, not conjectural or hypothetical,”
14
     let alone effectively allege that “the injury is fairly traceable to the challenged action of the
15
     defendant.” Friends of the Earth, Inc. v. Laidlaw Envtl. Servs. (TOC), Inc., 528 U.S. 167, 180–81
16
     (2000).
17
               According to the Complaint, the only purported “substantial injury” Plaintiffs assert is that
18
     they “incurred charges and/or paid monies for the Product that they otherwise would not have
19
     incurred or paid and were unknowingly exposed to a significant and substantial health risk.” See
20
     Compl. ¶ 65. Alternatively, Plaintiffs state they “would not have purchased [the Product] absent
21
     Defendants’ unlawful, fraudulent, and unfair marketing, advertising, packaging, and omissions
22
     about the inclusion of harmful toxins.” Compl. ¶ 80. Plaintiffs further assert an “injury due to the
23
     purchase of the Product that did not live up to their advertised representations.” Compl. ¶ 97. In
24
     sum, the only injury alleged by Plaintiffs appears to be the economic harm of having purchased a
25
     product they claim they would not have bought if they had known it contained allegedly harmful
26
     PFAS. Plaintiffs do not assert any other personal or economic “injury-in-fact.”
27
               However, even accepting all allegations in the Complaint as true and drawing all reasonable
28

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 1
     inferences in Plaintiffs’ favor, the Complaint fails to provide sufficient factual support to “raise a
 2
     right to relief above the speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
 3
             Specifically, Plaintiffs neither identify which of the thousands of existing PFAS compounds
 4
     their testing supposedly detected nor explain whether the PFAS compound allegedly found in
 5
     Defendant’s product is actually harmful. As previously discussed in the section “What Are PFAS,”
 6
     a substantial number of PFAS compounds are widely permitted and pose no known health risks.
 7
     Moreover, Plaintiffs clearly misapply the relevant toxicity or safety standards in their allegations
 8
     and fail to connect any alleged PFAS in the product to types that are potentially harmful. Plaintiffs
 9
     attempt to use the generalized and speculative invocation of “PFAS” as a “magic word” to open the
10
     doors to federal litigation, a practice expressly rejected by multiple courts, including this Court’s
11
     recent holding: “‘PFAS’ is not a magic word that can be invoked to open automatically the doors to
12
     federal litigation.” Bullard v. Costco Wholesale Corp., No. 24-CV-03714-RS, 2025 WL 506271
13
     (N.D. Cal. Feb. 14, 2025). Accordingly, Plaintiffs fail even more clearly to establish that their
14
     alleged injury is “fairly traceable to the challenged action of the defendant.”
15
             a. Plaintiff Fails to Plausibly Allege that Any Unit of the Product
16
                Contained “Harmful” PFAS at “Dangerous” Levels That Pose a
17
                Genuine Health Risk.
18
             Plaintiffs impermissibly treat all PFAS compounds as a single, uniform substance in their
19
     Complaint, broadly asserting that PFAS as a whole is “harmful.” This sweeping characterization
20
     directly contradicts their own allegations. Plaintiffs themselves acknowledge that PFAS constitutes
21
     a “large, complex group of synthetic chemicals” (Compl. ¶ 4), not a single substance with uniform
22
     properties or effects.
23
             Despite recognizing this complexity, Plaintiffs fail to distinguish among the thousands of
24
     distinct PFAS compounds and instead conflate them under a generalized theory of harm. This is
25
     particularly unreasonable given that the very sources Plaintiffs rely on expressly acknowledge that
26
     only specific PFAS compounds — and only at certain exposure levels — may pose health risks.
27
     These articles consistently differentiate between various PFAS types, recognizing that not all PFAS
28

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 1
     are harmful, and that regulatory scrutiny is limited to certain well-studied compounds. Plaintiffs’
 2
     attempt to collapse all PFAS into a single, toxic category is thus not only scientifically inaccurate
 3
     but also inconsistent with their cited authorities.：
 4
                 In Paragraph 4, Plaintiff cites an article by the National Institute of Environmental
 5
                  Health Sciences (“NIEHS”) stating that “It is important to note that there are
 6
                  thousands of variations in PFAS chemicals, which can make them hard to study. But
 7
                  the research conducted to date reveals possible links between human exposures to
 8
                  certain PFAS and some adverse health outcomes… Furthermore, the National
 9
                  Toxicology Program (NTP), an interagency program headquartered at NIEHS,
10
                  concluded that two types of PFAS, PFOA and PFOS, suppressed the antibody
11
                  response and were a hazard to immune system function in humans.” Id. ¶ 4; see also
12
                  Exhibit H. Plaintiff does not allege that either PFOA or PFOS was identified in the
13
                  Product.
14
                 In Paragraph 6, Plaintiff references the EPA’s ORD Human Health Toxicity Values
15
                  for Perfluoropropanoic Acid (2023) as support for their health risk allegations.
16
                  However, the title of the document itself makes clear that it pertains solely to
17
                  Perfluoropropanoic Acid, which is just one specific type of PFAS. Plaintiff does not
18
                  allege that Perfluoropropanoic Acid was found in the Product, nor do they attempt to
19
                  establish that this specific compound—or any other identified PFAS—was present at
20
                  harmful levels.
21
                 In Paragraph 24, Plaintiff cites an article by the Environmental Protection Agency
22
                  (“EPA”) titled “Our Current Understanding of the Human Health and Environmental
23
                  Risks of PFAS,” which states: “Perfluorooctanoic Acid (PFOA) and Perfluorooctane
24
                  Sulfonate (PFOS), for example, are two of the most widely used and studied
25
                  chemicals in the PFAS group. PFOA and PFOS have been replaced in the United
26
                  States with other PFAS in recent years.” The article further explains: “Current
27
                  scientific research suggests that exposure to certain PFAS may lead to adverse health
28

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 1
                  outcomes. However, research is still ongoing to determine how different levels of
 2
                  exposure to different PFAS can lead to a variety of health effects.” Id. ¶ 24; see also
 3
                  Exhibit D. Plaintiff does not allege that the Product contains either PFOA or PFOS,
 4
                  nor do they identify any specific PFAS in the Product that has been shown to cause
 5
                  adverse health effects.
 6
                 In Paragraph 25, Plaintiff references an article by the Michigan PFAS Action
 7
                  Response Team, which notes that “drinking and groundwater standards” apply only to
 8
                  certain specifically listed PFAS compounds. Compl. ¶ 25; see also Exhibit I. Plaintiff,
 9
                  however, does not allege that any of those regulated PFAS are present in the Product.
10
11
            Moreover, as discussed in Section II of the Factual Background (“What Are PFAS”) above,
12
     both the EPA and FDA have long recognized that different PFAS compounds possess different
13
     properties, and only a subset has been shown to potentially pose health risks. In fact, many other
14
     PFAS compounds—such as PTFE (polytetrafluoroethylene)—“are safe for their intended use,”
15
     based on “rigorous scientific review before they are authorized for the market.”
16
            Notably, under California’s Proposition 657 (See also Exhibit J), only three specific long-
17
     chain PFAS compounds—PFOA, PFOS, and PFNA—have been subject to regulation. Plaintiff,
18
     however, does not allege that any of these regulated substances were identified in the Product.
19
            In sum, despite the overwhelming and well-documented scientific consensus that PFAS
20
     constitute a broad and chemically diverse class of substances—only some of which may be harmful,
21
     while many others are not — Plaintiff fails to identify in the Complaint which specific PFAS
22
     compound, if any, was present in the Product. Nor does Plaintiff make any preliminary showing
23
     that the type of PFAS allegedly present is one that is known to be harmful. Instead, Plaintiff relies
24
     on a conclusory and overly broad assertion that all PFAS are inherently harmful, and that the mere
25
26
     7
      California Office of Environmental Health Hazard Assessment, PROPOSITION 65 LIST OF
     CARCINOGENS OR REPRODUCTIVE TOXICANTS. See
27   https://oehha.ca.gov/sites/default/files/media/downloads/proposition-65/p65chemicalslist.pdf (last
     updated Jan. 3, 2025).
28

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 1
     presence of any PFAS renders the Product toxic. This position is internally inconsistent and, more
 2
     importantly, fails to provide sufficient factual support to “raise a right to relief above the
 3
     speculative level.” Bell Atl. Corp. v. Twombly, 550 U.S. 544, 555 (2007).
 4
             Plaintiff’s theory of injury is likewise unsubstantiated. Even assuming all factual allegations
 5
     in the Complaint are true, Plaintiff fails to plausibly establish that the purchase of a Product
 6
     allegedly containing PFAS resulted in a concrete “injury-in-fact”. The mere allegation that PFAS
 7
     was present, without identifying the specific type and whether that type is in fact harmful, does not
 8
     support a credible claim of economic loss. Without a plausible allegation that a harmful type of
 9
     PFAS was actually present in the Product, Plaintiff cannot reasonably assert that the Product’s
10
     value was diminished or that they would have declined to purchase it had they known.
11
             Moreover, Plaintiffs also fail to credibly allege that the amount of the specific PFAS
12
     compound allegedly present in the Product would be considered dangerous. Setting aside Plaintiffs’
13
     failure to identify the specific type of PFAS, the comparative benchmarks they rely on to claim that
14
     the PFAS level is excessive are clearly erroneous and internally inconsistent.
15
             Plaintiffs’ primary attempt to demonstrate that the Product contains a “dangerous amount”
16
     of harmful substances relies on two distinct but equally flawed comparisons—each referencing
17
     unrelated PFAS compounds and applying incompatible standards.
18
             First, Plaintiffs reference the EPA’s ORD Human Health Toxicity Values for
19
     Perfluoropropanoic Acid (2023). See Compl. ¶ 6. Although Plaintiffs do not identify any specific
20
     numeric threshold in their Complaint, they assert that PFAS levels in the Product exceed “320
21
     times” an applicable limit. Based on that claim, it appears they are relying on the only quantified
22
     value in the ORD report: 5 × 10⁻⁴ mg/kg-day, which represents an oral reference dose (RfD)—
23
     that is, the estimated daily intake per kilogram of body weight that is unlikely to result in adverse
24
     health effects.
25
             However, Plaintiffs do not allege that the Product contains Perfluoropropanoic Acid, the
26
     specific compound to which that RfD applies. Rather, they vaguely allege that “PFAS” were
27
     detected. More importantly, they attempt to compare this daily intake threshold (RfD) with a
28

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 1
     laboratory test result showing “over 160 parts per billion (PPB)” of PFAS in the Product. This
 2
     comparison is scientifically incoherent and fundamentally flawed.
 3
            The RfD is a dose-based standard, expressed in mg/kg of body weight per day8 (See also
 4
     Exhibit B) . In contrast, the 160 PPB figure is a static concentration within the vape liquid9 (See
 5
     also Exhibit C). These units represent fundamentally different concepts—dose versus
 6
     concentration—and cannot be meaningfully compared without applying an exposure assessment
 7
     model accounting for frequency, bioavailability, and absorption. Plaintiffs offer no such model and
 8
     fail to allege that any user would actually absorb PFAS from the Product in amounts approaching
 9
     the referenced RfD. Nor do they allege that Perfluoropropanoic Acid was ever detected in the
10
     Product. Thus, Plaintiffs’ “320 times the limit” claim is built on a false equivalence and fails to
11
     establish any credible health risk or misrepresentation.
12
            Second, Plaintiffs rely on a news article from The Guardian titled “New report finds most
13
     U.S. kale samples contain ‘disturbing’ levels of ‘forever chemicals’”. See Compl. ¶ 6. This article
14
     is not a peer-reviewed publication or government-issued report. Upon closer examination, the
15
     article references a non-governmental pilot study conducted by the Alliance for Natural Health
16
     USA, titled “PFAS in Kale Pilot Study”10 (See Also Exhibit K). That study tested kale samples and
17
     detected various specific PFAS compounds, including: Perfluorobutanoic acid (PFBA),
18
     Perfluoropentanoic acid (PFPA), Perfluorohexanoic acid (PFHxA), Perfluoroheptanoic acid
19
     (PFHpA), Perfluorooctanoic acid (PFOA), Perfluorononanoic acid (PFNA), Perfluorodecanoic acid
20
     (PFDA), Perfluorobutane sulfonic acid (PFBS), Perfluoropentane sulfonic acid (PFPS),
21
22
     8
       “[t]he RfD is generally expressed in units of milligrams per kilogram of bodyweight per day
     (mg/kg/day).” This value represents the estimated daily exposure to a substance that is not likely to
23   cause harmful effects over a lifetime. See U.S. Envtl. Prot. Agency, Reference Dose (RfD):
     Description and Use in Health Risk Assessments, https://www.epa.gov/iris/reference-dose-rfd-
24   description-and-use-health-risk-assessments (last visited Apr. 2, 2025).
     9
       “Another common unit is parts per billion (ppb), which is also expressed as microgram per liter
25   (µg/l) or microgram per kilogram (µg/kg). In drinking water results, you may also see parts per
     trillion (ppt)....One ppb would be equal to one drop of ink in a 10,000-gallon swimming pool.” See
26   Missouri Dep’t of Nat. Res., Understanding Data, https://dnr.mo.gov/monitoring/understanding-
     data (last visited Apr. 2, 2025).
27   10
        Alliance for Natural Health USA, PFAS in Kale Pilot Study, https://anh-usa.org/wp-
28   content/uploads/2023/06/230621-ANH-USA-PFAS-in-Kale.pdf (June 21, 2023).

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 1
     Perfluorohexane sulfonic acid (PFHxS), Perfluoroheptane sulfonic acid (PFHS), Perfluorooctane
 2
     sulfonic acid (PFOS), 4,8-Dioxa-3H-perfluorononanoic acid, 9Cl-PF3ONS, HFPODA, and 11Cl-
 3
     PF3OUdS.
 4
             Critically, the PFAS compound Plaintiffs rely upon in their first standard—
 5
     Perfluoropropanoic Acid—is not among the substances detected in the kale study. This discrepancy
 6
     reveals a fundamental inconsistency: Plaintiffs cite two different benchmarks based on two entirely
 7
     different PFAS substances, and attempt to compare the same 160 PPB value in the Product to
 8
     standards that relate to different chemicals. This reflects that Plaintiffs either do not know what
 9
     specific compound the reported 160 PPB refers to, or they lack any valid comparator to
10
     demonstrate that the compound—whatever it may be—is present at a level that exceeds regulatory
11
     limits or constitutes a health hazard. This is scientifically invalid.
12
             In conclusion, Plaintiffs fail to plausibly allege that the Product contains any specific
13
     harmful PFAS compound at a dangerous amount. The standards they invoke are not applicable to
14
     the substances they claim were detected, and their theory of exceedance rests on mismatched,
15
     scientifically unsupported comparisons. This failure of both factual precision and scientific
16
     reasoning is fatal to any claim based on alleged toxicity or misrepresentation.
17
             Plaintiffs’ clearly erroneous assertion regarding the alleged “dangerous” amount of a
18
     specific PFAS compound further underscores their failure to establish a reasonable and sufficient
19
     injury in fact. Without plausibly alleging that a harmful PFAS was present at a level that poses an
20
     actual risk, Plaintiffs cannot demonstrate a concrete and particularized injury necessary to satisfy
21
     Article III standing.
22
             This deficiency aligns with how courts in this district have addressed similar claims. In
23
     Bullard v. Costco Wholesale Corp., the court dismissed the complaint, finding that “Bullard has
24
     failed to allege sufficient facts that, if proven, would show the product at issue contains ingredients
25
     [PFAS] of a type and in such quantities to make her various theories of relief viable.” No. 24-CV-
26
     03714-RS, 2025 WL 506271, at *2 (N.D. Cal. Feb. 14, 2025). In Herrington v. Johnson & Johnson
27
     Consumer Cos., the court dismissed for lack of standing where plaintiffs failed to “plead that the
28

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 1
     amounts of the substances in Defendants’ products have caused harm or create a credible or
 2
     substantial risk of harm.” No. C 09-1597 CW, 2010 WL 3448531, at *3 (N.D. Cal. Sept. 1, 2010).
 3
     Similarly, in Boysen v. Walgreen Co., the court found no economic injury where the plaintiff pled
 4
     “that arsenic and lead are harmful toxins, and that the products contain those toxins,” but not “that
 5
     the levels of lead and arsenic contained in defendant’s juices are likely to cause physical harm,”
 6
     even though he alleged “material and significant levels.” No. C 11-06262, 2012 WL 2953069, at
 7
     *7 (N.D. Cal. July 19, 2012). In Andrews v. Procter & Gamble Co., the court dismissed PFAS-
 8
     based consumer fraud claims because the plaintiff “fail[ed] to adequately allege [the product]
 9
     contains elevated amounts of PFASs.” No. EDCV 19-00075 AG (SHKx), 2019 WL 6520045, at *3
10
     (C.D. Cal. Dec. 4, 2019).
11
            And in Krakauer, the court likewise held that “Krakauer’s fraud by omission claims fail
12
     largely because he has not plausibly alleged that his raincoat contained dangerous PFAS in
13
     quantities sufficient to pose health risks.” 2024 WL 1494489, at *10.
14
            b. The Complaint Fails to Allege That the Tested Product Was
15
                Purchased by Plaintiffs and That the Product They Purchased Was
16
                Harmful
17
            Plaintiffs have not plausibly alleged that the Product they purchased actually contained
18
     PFAS. The Complaint merely states that “Plaintiffs’ counsel commissioned a Department of
19
     Defense ELAPcertified laboratory to test the Defendants’ Flum Float vape”. See Compl. ¶ 6.
20
     However, Plaintiffs do not allege that the tested sample was one they themselves purchased, or that
21
     it came from the same batch, lot, or even flavor as their purchase. In fact, the Complaint omits any
22
     detail about the number of samples tested, who conducted the testing, when or where it occurred,
23
     or what specific PFAS analytes were found.
24
            These omissions are critical. Courts have consistently held that plaintiffs lack Article III
25
     standing where they fail to allege that the specific unit they purchased was contaminated. See Solis
26
     v. Coty, Inc., No. 22-CV-0400-BAS-NLS, 2023 WL 2394640, at *10 (S.D. Cal. Mar. 7, 2023)
27
     (“plaintiff must proffer allegations that enable this Court to infer she purchased a unit of Product
28

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 1
     contaminated with PFAS”); Pels v. Keurig Dr. Pepper, Inc., No. 19-CV-03052-SI, 2019 WL
 2
     5813422, at *5 (N.D. Cal. Nov. 7, 2019) (“plaintiff has failed to plead a particularized injury by
 3
     failing to plead the water he purchased contained violative arsenic levels”); Bowen v. Energizer
 4
     Holdings, Inc., No. 23-55116, 2022 WL 18142508, 2022 WL 18142508, at *4 (C.D. Cal. Aug. 29,
 5
     2022) (“Plaintiff’s claim is based on the hypothetical possibility that the products she purchased
 6
     may have contained benzene”); Krakauer, 2024 WL 1494489, at *10 (“Krakauer has not plausibly
 7
     alleged that his raincoat contained dangerous PFAS in quantities sufficient to pose health risks”).
 8
             Plaintiffs allege even less than in those cases. They do not identify what specific PFAS
 9
     compounds were found, provide no details about the testing process or sample source, and make no
10
     attempt to link the tested product to the units they actually purchased. Their claims rest entirely on
11
     the unsupported assumption that all Flum Float products—including their own—contain the same
12
     PFAS.
13
             On these facts, Plaintiffs cannot establish an injury in fact and therefore lack standing under
14
     Article III to pursue their all claims.
15
16   III. THE COMPLAINT SHOULD BE DISMISSED UNDER RULE 12(b)(6)
17
             A plaintiff’s complaint must allege facts to state a claim for relief that is plausible, meaning
18
     that he “pleads factual content that allows the court to draw the reasonable inference that the
19
     defendant is liable for the misconduct alleged.” Balistreri v. Pacifica Police Dep’t, 901 F.2d 696,
20
     699 (9th Cir. 1988). Although courts must accept as true the complaint ’ s well-pleaded facts,
21
     conclusory allegations of law and unwarranted inferences will not defeat an otherwise proper Rule
22
     12(b)(6) motion to dismiss. Vasquez v. Los Angeles Cnty., 487 F.3d 1246, 1249 (9th Cir. 2007).
23
             Fraud claims require plaintiffs to allege facts with heightened specificity in order to survive
24
     dismissal. See Fed. R. Civ. P. 9(b) (“In alleging fraud or mistake, a party must state with
25
     particularity the circumstances constituting fraud or mistake.”). For affirmative misrepresentations,
26
     “a plaintiff must set forth what is false or misleading about a statement, and why it is false.” In re
27
     GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1548 (9th Cir. 1994). For fraudulent omissions, plaintiffs
28

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 1
     “must describe the content of the omission and where the omitted information should or could have
 2
     been revealed, as well as provide representative samples of advertisements, offers, or other
 3
     representations that plaintiff relied on to make her purchase and that failed to include the allegedly
 4
     omitted information.” Eisen v. Porsche Cars N. Am., No. CV 11 – 9405 CAS (FEMx), 2012 WL
 5
     841019, at *3 (C.D. Cal. Feb. 22, 2012) (citation omitted).
 6
            Plaintiffs assert claims sounding in fraud—including fraudulent concealment and statutory
 7
     consumer deception—they must meet the heightened pleading standard of Rule 9(b).
 8
            Plaintiffs’ failure to plausibly allege that the Flum Float product contains dangerous PFAS
 9
     is fatal to their fraud-based claims. As in Krakauer, “[w]ithout alleging the presence of a chemical
10
     that customers actually care about, Plaintiff cannot plausibly allege that [Defendant] did anything
11
     deceptive or had a duty to disclose the presence of such PFAS.” Krakauer, 2024 WL 1494489, at
12
     *10. Plaintiffs do not allege what specific PFAS compounds were detected, whether those
13
     compounds are known to pose health risks, or whether they were present at levels sufficient to
14
     render the product unsafe or materially different from what was advertised. As a result, their
15
     omission-based fraud theory fails at the threshold.
16
            This deficiency alone warrants dismissal. Fraud claims require more than speculation—they
17
     require concrete factual allegations. See In re GlenFed, Inc. Sec. Litig., 42 F.3d 1541, 1549–53 (9th
18
     Cir. 1994) (a plaintiff must “allege evidentiary facts to support [his] theories of fraud”), superseded
19
     by statute on other grounds as stated in Johnson v. Wal-Mart Stores, Inc., 544 F. App’x 696 (9th
20
     Cir. 2013). Courts likewise reject consumer protection claims under the CLRA, UCL, and FAL
21
     where plaintiffs fail to plead facts showing that the challenged advertising was actually false or
22
     misleading. See Fraker v. Bayer Corp., No. CV F 08-1564 AWI GSA, 2009 WL 5865687, at *8
23
     (E.D. Cal. Oct. 6, 2009).
24
25          a. Plaintiffs Do Not Plausibly Allege That Any Aspect of the Product’s
26              Packaging or Advertising Is Misleading or Deceptive.

27          Plaintiffs’ statutory claims under CLRA and UCL, along with their common-law claims for
28

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 1
     Fraudulent Concealment or Omission and Breach of the Implied Warranty of Merchantability, are
 2
     all premised on the allegation that the Flum Float Product’s packaging and advertising contain
 3
     misrepresentations and/or omissions about its ingredients—specifically, the alleged presence of
 4
     PFAS.
 5
             All of these claims are subject to the “reasonable consumer” standard, which requires
 6
     Plaintiffs to “show that members of the public are likely to be deceived” by the challenged
 7
     representations. Becerra v. Dr. Pepper/Seven Up, Inc., 945 F.3d 1225, 1228 (9th Cir. 2019). But
 8
     Plaintiffs do not identify any statement on the Product’s packaging or in advertising materials that
 9
     affirmatively claims the Product is PFAS-free. Nor do they allege that PFAS are listed as
10
     ingredients or that any of the disclosed ingredients are false or misleading.
11
             Instead, Plaintiffs rely on general branding elements—such as the word “Float,” images of
12
     fresh fruit, bright, colorful packaging, and juice-splattered backgrounds—to support their claim
13
     that the Product is marketed as “light and harmless.” See Compl. ¶ 36. They allege that these
14
     design choices were intended to convey that the Product is “delightful” and minimally impactful on
15
     the body, and thereby suggest the absence of harmful substances such as PFAS. But none of these
16
     features constitutes an express or implied representation about chemical content, and no reasonable
17
     consumer would interpret such aesthetic or thematic elements as a factual guarantee that the
18
     Product is entirely free of incidental trace compounds.
19
             The reasonable consumer standard demands more than a mere possibility that a label or
20
     image “might conceivably be misunderstood by some few consumers viewing it in an unreasonable
21
     manner.” Ebner v. Fresh, Inc., 838 F.3d 958, 965 (9th Cir. 2016) (quoting Lavie v. Procter &
22
     Gamble Co., 129 Cal. Rptr. 2d 486, 495 (Cal. Ct. App. 2003)). It requires a showing that “a
23
     significant portion of the general consuming public or of targeted consumers, acting reasonably in
24
     the circumstances, could be misled.” Id. Courts applying this standard have routinely rejected
25
     claims based on the alleged presence of trace substances where the product made no specific
26
     representations regarding their absence.
27
             In Hawyuan Yu v. Dr. Pepper Snapple Group, Inc., for example, this Court dismissed
28

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 1
     claims that a “natural” label on apple juice was misleading, holding that a reasonable consumer
 2
     would not believe the product was “free of any trace pesticides whatsoever.” No. 18-CV-06664-
 3
     BLF, 2020 WL 5910071, at *7 (N.D. Cal. Oct. 6, 2020). Other courts have reached similar
 4
     conclusions. See Axon v. Citrus World, Inc., 354 F. Supp. 3d 170, 174 (E.D.N.Y. 2018), aff’d, 813
 5
     F. App’x 701 (2d Cir. 2020) (label “Florida’s Natural” not misleading even if product contained
 6
     trace glyphosate); Parks v. Ainsworth Pet Nutrition, LLC, 377 F. Supp. 3d 241, 2019 WL 1924906,
 7
     247 (S.D.N.Y. 2019) (reasonable consumer would not require “natural” to mean “zero” synthetic
 8
     content).
 9
             Nor do Plaintiffs identify what PFAS compounds were actually found in the Product or
10
     allege that any are toxic or harmful. See Section II, supra. Without those critical details, Plaintiffs
11
     cannot plausibly claim that any challenged statement was materially misleading. As Judge Wilken
12
     explained in Herrington v. Johnson & Johnson Consumer Cos., where plaintiffs alleged children’s
13
     bath products contained carcinogens, dismissal was warranted because the complaint did not “aver[]
14
     facts that show that the levels of these substances caused them or their children harm.” No. C 09–
15
     1597 CW., 2010 WL 3448531, at *1, *8 (N.D. Cal. Sept. 1, 2010). “[U]nder the objective test for
16
     materiality,” she concluded, “the alleged non-disclosures are not actionable.” Id. The same is true
17
     here.
18
             b. Plaintiffs Cannot State a Claim Based on Omission Under California
19
                 Consumer Protection Laws.
20
             Plaintiffs’ omission-based claims under the CLRA and UCL independently fail because
21
     they do not meet the legal threshold for an actionable omission. To state a claim based on an
22
     omission, Plaintiffs must allege either (1) that the omission is contrary to a representation actually
23
     made by the defendant, or (2) that the defendant had a duty to disclose the omitted fact. Hodsdon v.
24
     Mars, Inc., 891 F.3d 857, 861 (9th Cir. 2018). California courts have rejected any broad or
25
     generalized duty to disclose. Id.
26
             As discussed, Plaintiffs do not identify any affirmative representation on the Product’s
27
     packaging or advertising that plausibly relates to the incidental presence of PFAS. Nor are
28

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 1
     manufacturers obligated to disclose speculative or trace-level risks associated with environmental
 2
     contaminants. A duty to disclose only arises in two narrow scenarios: where the omission involves
 3
     (1) an unreasonable safety hazard, or (2) a material defect central to the product’s function, and the
 4
     plaintiff also pleads one of the four factors outlined in LiMandri v. Judkins, 60 Cal. Rptr. 2d 539,
 5
     543 (Cal. Ct. App. 1997)—namely: (1) a fiduciary relationship, (2) exclusive knowledge of
 6
     material facts, (3) active concealment, or (4) partial representations accompanied by suppression of
 7
     material facts. See also Hodsdon, 891 F.3d at 868.
 8
            Plaintiffs plead none of these elements. They do not identify which PFAS compound was
 9
     allegedly detected, and they do not allege that the PFAS was of a type recognized by regulators as
10
     hazardous or present at a level exceeding any established regulatory threshold. See Rodriguez v.
11
     Mondelez Global, LLC, No. 23-cv-00057-DMS-AHG, 2023 WL 8115773, at *10 (S.D. Cal. Nov.
12
     22, 2023) (dismissing PFAS omission claims where plaintiff failed to identify the specific
13
     compound or regulatory violation). Absent such allegations, Plaintiffs cannot plausibly claim the
14
     existence of a “safety hazard,” nor can they establish that any alleged defect is “material” or
15
     “central” to the Product’s function.
16
            Nor have Plaintiffs plausibly alleged any of the LiMandri factors. There is no fiduciary
17
     relationship between the parties. Plaintiffs do not plead that Flumgio had exclusive knowledge of
18
     material facts, nor do they allege any facts suggesting active concealment or partial disclosure.
19
     Vague references to unspecified “laboratory testing” fall far short of demonstrating a material
20
     omission that would support any duty to disclose. See LiMandri, 60 Cal. Rptr. 2d at 543.
21
            Courts across jurisdictions have rejected similar PFAS-based omission theories. In Seidl v.
22
     Artsana, USA, Inc., the court dismissed omission claims where the plaintiff argued that car seats
23
     should have included PFAS disclaimers, reasoning that a consumer’s “own personal preferences
24
     are not enough to establish a claim.” 643 F. Supp. 3d 521, 2022 WL 17337910, 531 (E.D. Pa.
25
     2022). Likewise, in Garland v. Children’s Place, Inc., the court held that “it is not plausible that a
26
     reasonable consumer would interpret [the defendant’s] silence on the issue of PFAS to indicate that
27
     its school uniforms were 100 percent PFAS-free.” No. 23 C 4899, 2024 WL 1376353, at *7 (N.D.
28

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 1
     Ill. Apr. 1, 2024).
 2
             The same is true here. Plaintiffs’ omission theory is unsupported by the facts alleged and is
 3
     legally deficient under well-established precedent.
 4
             c. Plaintiffs Cannot State a Claim Based on Breach of Implied
 5
                 Warranty of Merchantability.
 6
             The implied warranty of merchantability under California law merely requires that a
 7
     product be “fit for the ordinary purposes for which such goods are used.” See Cal. Com. Code §
 8
     2314(2)(c). Significantly, merchantability does not demand that a product be flawless or free of all
 9
     substances—only that it functions as expected for its intended ordinary use. See Mexia v. Rinker
10
     Boat Co., 174 Cal. App. 4th 1297, 95 Cal. Rptr. 3d 285 (2009).
11
             Here, Plaintiffs do not plausibly allege that the Flum Float vape products were unfit for
12
     their ordinary purpose. Plaintiffs do not claim that the Products failed to operate properly, nor do
13
     they allege any adverse effects resulting from their use. To the contrary, as supported by credible
14
     regulatory sources, PFAS are commonly used in a wide range of consumer products, and their
15
     mere presence does not imply harm or compromise product functionality. Accordingly, even
16
     assuming Plaintiffs’ allegations to be true, the incidental presence of trace amounts of PFAS does
17
     not render the Products unmerchantable under California law.
18
19                                             CONCLUSION

20           For the foregoing reasons, Defendant Flumgio respectfully request that the Court dismiss
21   Plaintiffs’ Complaint in its entirety.
22                                                Respectfully submitted,

23   Dated: April 3, 2025                         SHM LAW FIRM

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28

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